               Case 18-52363-jwc                      Doc 36         Filed 06/04/18 Entered 06/04/18 10:56:18                                Desc Main
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  Fill in this information to identify your case:

  Debtor 1              Millard                 Courtney                Farmer, Jr.
                        First Name              Middle Name             Last Name
                                                                                                                    Check if this is an amended plan, and
  Debtor 2                                                                                                           list below the sections of the plan that
  (Spouse, if filing)   First Name              Middle Name             Last Name                                    have been changed. Amendments to
                                                                                                                     sections not listed below will be
United States Bankruptcy Court for the Northern District of Georgia                                                  ineffective even if set out later in this
                                                                                                                     amended plan.
  Case number           18-52363
  (if known)                                                                                         § 4.4; § 8.1



Chapter 13 Plan
NOTE:                          The United States Bankruptcy Court for the Northern District of Georgia adopted this form plan for use
                               in Chapter 13 cases in the District pursuant to Federal Rule of Bankruptcy Procedure 3015.1. See
                               Order Requiring Local Form for Chapter 13 Plans and Establishing Related Procedures, General Order
                               No. 21-2017, available in the Clerk’s Office and on the Bankruptcy Court’s website, ganb.uscourts.gov.
                               As used in this plan, “Chapter 13 General Order” means General Order No. 21-2017 as it may from time
                               to time be amended or superseded.

  Part 1:                  Notices

To Debtor(s):                  This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that the
                               option is appropriate in your circumstances. Plans that do not comply with the United States Bankruptcy Code, local rules and judicial
                               rulings may not be confirmable.

                               In the following notice to creditors, you must check each box that applies.

To Creditors:                  Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                               Check if applicable.

                                     The plan provides for the payment of a domestic support obligation (as defined in 11 U.S.C. § 101(14A)), set out in
                                     § 4.4.
                               You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                               have an attorney, you may wish to consult one.

                               If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                               confirmation at least 7 days before the date set for the hearing on confirmation, unless the Bankruptcy Court orders
                               otherwise. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                               Bankruptcy Rule 3015.

                               To receive payments under this plan, you must have an allowed claim. If you file a timely proof of claim, your claim is
                               deemed allowed unless a party in interest objects. See 11 U.S.C. § 502(a).

                               The amounts listed for claims in this plan are estimates by the debtor(s). An allowed proof of claim will be
                               controlling, unless the Bankruptcy Court orders otherwise.

                               The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or
                               not the plan includes each of the following items. If an item is checked as “Not included,” if both boxes are
                               checked, or if no box is checked, the provision will be ineffective even if set out later in the plan.

                                          A limit on the amount of a secured claim, that may result in a partial
                                  § 1.1                                                                                        Included              Not Included
                                          payment or no payment at all to the secured creditor, set out in § 3.2
                                          Avoidance of a judicial lien or nonpossessory, nonpurchase-money
                                  § 1.2                                                                                        Included              Not Included
                                          security interest, set out in § 3.4

                                  § 1.3   Nonstandard provisions, set out in Part 8                                          Included                   Not Included




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Debtor Millard Courtney Farmer, Jr.                                                          Case number 18-52363

  Part 2:        Plan Payments and Length of Plan; Disbursement of Funds by Trustee to Holders of Allowed Claims
§ 2.1   Regular Payments to the trustee; applicable commitment period.
        The applicable commitment period for the debtor(s) as set forth in 11 U.S.C. § 1325(b)(4) is:

        Check one:         36 months              60 months
        Debtor(s) will make regular payments (“Regular Payments”) to the trustee as follows:

        The debtor(s) will pay        $217.84 per     month       for the applicable commitment period. If the applicable commitment period is 36
        months, additional Regular Payments will be made to the extent necessary to make the payments to creditors specified in this plan, not to exceed
        60 months unless the Bankruptcy Court orders otherwise. If all allowed claims treated in § 5.1 of this plan are paid in full prior to the expiration of
        the applicable commitment period, no further Regular Payments will be made.

        Check if applicable.
             The amount of the Regular Payment will change as follows (If this box is not checked, the rest of § 2.1 need not be completed or
             reproduced. Insert additional lines as needed for more changes.):

        Beginning on               The Regular Payment                   For the following reason (insert reason for change):
        (insert date):             amount will change to
                                   (insert amount):

                                                    per     week


§ 2.2   Regular Payments; method of payment.
        Regular Payments to the trustee will be made from future income in the following manner:

        Check all that apply.
             Debtor(s) will make payments pursuant to a payroll deduction order. If a deduction does not occur, the debtor(s) will pay to the trustee the
             amount that should have been deducted.

            Debtor(s) will make payments directly to the trustee.

             Other (specify method of payment):
§ 2.3   Income tax refunds.

        Check one.
            Debtor(s) will retain any income tax refunds received during the pendency of the case.
             Debtor(s) will (1) supply the trustee with a copy of each income tax return filed during the pendency of the case within 30 days of
             filing the return and (2) turn over to the trustee, within 30 days of the receipt of any income tax refund during the applicable
             commitment period for tax years                                             , the amount by which the total of all of the income tax refunds
             received for each year exceeds $2,000 (“Tax Refunds”), unless the Bankruptcy Court orders otherwise. If debtor’s spouse is not a
             debtor in this case, “tax refunds received” means those attributable to the debtor.

             Debtor(s) will treat tax refunds (“Tax Refunds”) as follows:



§ 2.4   Additional Payments.
        Check one.

             None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.
            Debtor(s) will make additional payment(s) (“Additional Payments”) to the trustee from other sources as specified below. Describe the source,
             estimated amount, and date of each anticipated payment.

             See non-standard provisions for details on potential liquidation of property.

§ 2.5   [Intentionally omitted.]




§ 2.6   Disbursement of funds by trustee to holders of allowed claims.

        (a) Disbursements before confirmation of plan. The trustee will make preconfirmation adequate protection payments to holders of allowed
        claims as set forth in §§ 3.2 and 3.3.
        (b) Disbursements after confirmation of plan. Upon confirmation, after payment of the trustee's statutory fee, the trustee will disburse Regular

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Debtor Millard Courtney Farmer, Jr.                                                       Case number 18-52363
        Payments, Additional Payments, and Tax Refunds that are available for disbursement to make payments to holders of allowed claims as follows:
            (1) First disbursement after confirmation of Regular Payments. In the first disbursement after confirmation, the trustee will disburse all
            available funds from Regular Payments in the following order:
               (A) To pay any unpaid preconfirmation adequate protection payments required by 11 U.S.C. § 1326(a)(1)(C) as set forth in § 3.2, § 3.3, and
               orders of the Bankruptcy Court;
               (B) To pay fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3;
               (C) To make payments pro rata based on the monthly payment amount: on secured claims as set forth in §§ 3.1, 3.2, 3.3, and 3.4; on
               domestic support obligations as set forth in § 4.4; on the arrearage claims on nonpriority unsecured claims as set forth in § 5.2; and on
               executory contracts and unexpired leases as set forth in § 6.1; and
               (D) To pay claims in the order set forth in § 2.6(b)(3).
            (2) Second and subsequent disbursements after confirmation of Regular Payments. In the second disbursement after confirmation, and
            each month thereafter, the trustee will disburse all available funds from Regular Payments in the order below. All available Regular Payments
            will be distributed to the claims in each paragraph until such claims are paid in full.
               (A) To make concurrent monthly payments, including any amount past due under this plan: on secured claims as set forth in §§ 3.1, 3.2, 3.3,
               and 3.4; on fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3; on domestic support obligations as set forth in
               § 4.4; on the arrearage claims on both nonpriority unsecured claims as set forth in § 5.2 and executory contracts and unexpired leases as
               set forth in § 6.1;
               (B) To make pro rata payments on administrative expenses allowed under 11 U.S.C. § 503(b) other than the trustee's fee and the debtor's
               attorney's fees, expenses, and costs; and
               (C) To pay claims in the order set forth in § 2.6(b)(3).
            (3) Disbursement of Additional Payments and Tax Refunds. The trustee will disburse the Additional Payments and Tax Refunds in the
            following order:
               (A) To pay fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3;
               (B) To make pro rata payments on administrative expenses allowed under 11 U.S.C. § 503(b) other than the trustee's fee and the debtor's
               attorney's fees, expenses, and costs;
               (C) To make payments pro rata based on the monthly payment amount: on secured claims as set forth in §§ 3.1, 3.2, 3.3, and 3.4; on
               domestic support obligations as set forth in § 4.4; on the arrearage claims on both nonpriority unsecured claims as set forth in § 5.2 and
               executory contracts and unexpired leases as set forth in § 6.1;
               (D) To pay other Allowed Secured Claims as set forth in § 3.6;
               (E) To pay allowed claims entitled to priority under 11 U.S.C. § 507, other than administrative expenses and domestic support obligations;
               and
               (F) To pay nonpriority unsecured claims not otherwise classified as set forth in § 5.1 (“Unclassified Claims”) and to pay nonpriority
               unsecured claims separately classified as set forth in § 5.3 (“Classified Claims”). The trustee will estimate the total amounts to be disbursed
               during the plan term (1) to pay Unclassified Claims and (2) to pay Classified Claims. Funds available for disbursement on these claims will
               be allocated pro rata to each class, and the funds available for disbursement for each class will be paid pro rata to the creditors in the class.
            (4) Unless the debtor(s) timely advise(s) the trustee otherwise in writing, the trustee may treat and disburse any payments received from the
            debtor(s) as Regular Payments.


  Part 3:        Treatment of Secured Claims
§ 3.1   Maintenance of payments and cure of default, if any.
        Check one.

            None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
§ 3.2   Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.
        Check all that apply.

            None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

§ 3.3   Secured claims excluded from 11 U.S.C. § 506.

        Check one.
            None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

§ 3.4   Lien avoidance.

        Check one.
            None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.


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§ 3.5   Surrender of collateral.

        Check one.
            None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
§ 3.6   Other Allowed Secured Claims.

       A proof of claim that is filed and allowed as a secured claim, but is not treated as a secured claim in this plan, shall be paid with interest at the rate
        of ______%.
             3         Payments will commence as set forth in § 2.6. Notwithstanding the foregoing, the debtor(s), and any other party in interest, may:
        object to allowance of the claim; request that the Bankruptcy Court determine the value of the secured claim if modification of the claim is
        permissible and if 11 U.S.C. § 506 is applicable; or request that the Bankruptcy Court avoid the creditor's lien pursuant to 11 U.S.C. § 522(f), if
        applicable.
        If the Bankruptcy Court determines the value of the secured claim, the portion of any allowed claim that exceeds the amount of the secured claim
        will be treated as an unsecured claim under Part 5 of this plan.
        The holder of the claim will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier of:
        (a) payment of the underlying debt determined under nonbankruptcy law, or
        (b) payment of the amount of the secured claim, with interest at the rate set forth above, and discharge of the underlying debt under 11 U.S.C.
        § 1328, at which time the lien will terminate and be released by the creditor.




  Part 4:        Treatment of Fees and Priority Claims

§ 4.1   General.

       Trustee's fees and all allowed priority claims will be paid in full without postpetition interest. An allowed priority claim will be paid in full regardless
        of whether it is listed in § 4.4.
§ 4.2   Trustee's fees.

       Trustee's fees are governed by statute and may change during the course of the case.

§ 4.3   Attorney's fees.

       (a) The unpaid fees, expenses, and costs owed to the attorney for the debtor(s) in connection with legal representation in this case are
        $_____________.
              0.00        The allowance and payment of the fees, expenses and costs of the attorney for the debtor(s) are governed by General Order
        22-2017 (“Chapter 13 Attorney's Fees Order”), as it may be amended.

       (b) Upon confirmation of the plan, the unpaid amount shall be allowed as an administrative expense under 11 U.S.C. § 503(b) to the extent set
        forth in the Chapter 13 Attorney's Fees Order.

       (c) The Bankruptcy Court may allow additional fees, expenses, and costs to the attorney for debtor(s) in excess of the amount shown in § 4.3(a)
        above upon application of the attorney in compliance with the Chapter 13 Attorney's Fees Order and after notice and a hearing.

       (d) From the first disbursement after confirmation, the attorney will receive payment under § 2.6(b)(1) up to the allowed amount set forth in
        § 4.3(a).

                                                                                                               0.00
        (e) The unpaid balance and any additional amounts allowed under § 4.3(c) will be payable (1) at $_____________     per month from Regular
        Payments and (2) from Tax Refunds or Additional Payments, as set forth in § 2.6, until all allowed amounts are paid in full.

       (f) If the case is converted to Chapter 7 before confirmation of the plan, the debtor(s) direct(s) the trustee to pay to the attorney for the debtor(s)
                               0.00
        the amount of $____________,      not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits. If the attorney for the
        debtor(s) has complied with the applicable provisions of the Chapter 13 Attorney's Fees Order, the trustee will deliver, from the funds available, the
        stated amount or the maximum amount to the attorney, whichever is less.

       (g) If the case is dismissed before confirmation of the plan, fees, expenses, and costs of the attorney for the debtor(s) in the amount of
                 0.00
        $_____________,      not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits, will be allowed to the extent set forth in
        the Chapter 13 Attorney's Fees Order. The attorney may file an application for fees, expenses, and costs in excess of the maximum amount within
        14 days from entry of the order of dismissal. If the attorney for the debtor(s) has complied with the applicable provisions of the Chapter 13
        Attorney's Fees Order, the trustee will deliver, from the funds available, the allowed amount to the attorney.

       (h) If the case is converted to Chapter 7 after confirmation of the plan, the debtor(s) direct(s) the trustee to deliver to the attorney for the debtor(s),
        from the funds available, any allowed fees, expenses, and costs that are unpaid.

       (i) If the case is dismissed after confirmation of the plan, the trustee will pay to the attorney for the debtor(s), from the funds available, any allowed
        fees, expenses, and costs that are unpaid.

§ 4.4   Priority claims other than attorney's fees.

             None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

        (a) Check one.
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                The debtor(s) has/have no domestic support obligations. If this box is checked, the rest of § 4.4(a) need not be completed or reproduced.

                 The debtor(s) has/have domestic support obligations as set forth below. The debtor(s) is/are required to pay all post-petition domestic support
                 obligations directly to the holder of the claim.

                 Name and address of creditor:              Name and address of child support                   Estimated amount of        Monthly plan payment
    +                                                       enforcement agency entitled to § 1302(d)(1)
                                                            notice
                                                                                                                claim



        -
            (b) The debtor(s) has/have priority claims other than attorney's fees and domestic support obligations as set forth below:

                 Name and address of creditor:                                                                             Estimated amount of claim
    +
        -        City of Atlanta                                                                                                                          $4,978.09


        -        Dekalb County                                                                                                                              $884.96


  Part 5:            Treatment of Nonpriority Unsecured Claims
§ 5.1       Nonpriority unsecured claims not separately classified.
            Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata, as set forth in § 2.6. Holders of these claims will
            receive:
            Check one.
                 A pro rata portion of the funds remaining after disbursements have been made to all other creditors provided for in this plan.

                 A pro rata portion of the larger of (1) the sum of $___________ and (2) the funds remaining after disbursements have been made to all other
                 creditors provided for in this plan.
                 The larger of (1) ______% of the allowed amount of the claim and (2) a pro rata portion of the funds remaining after disbursements have been
                 made to all other creditors provided for in this plan.
                100% of the total amount of these claims

            Unless the plan provides to pay 100% of these claims, the actual amount that a holder receives will depend on (1) the amount of claims filed and
            allowed and (2) the amounts necessary to pay secured claims under Part 3 and trustee's fees, costs, and expenses of the attorney for the
            debtor(s), and other priority claims under Part 4.
§ 5.2       Maintenance of payments and cure of any default on nonpriority unsecured claims.
            Check one.

                None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.
§ 5.3       Other separately classified nonpriority unsecured claims.
            Check one.

                None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

  Part 6:            Executory Contracts and Unexpired Leases

§ 6.1       The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
            and unexpired leases are rejected.

            Check one.
                None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

  Part 7:            Vesting of Property of the Estate

§ 7.1       Unless the Bankruptcy Court orders otherwise, property of the estate shall not vest in the debtor(s) on confirmation but will vest in the
            debtor(s) only upon: (1) discharge of the debtor(s); (2) dismissal of the case; or (3) closing of the case without a discharge upon the
            completion of payments by the debtor(s).

  Part 8:            Nonstandard Plan Provisions

§ 8.1       Check “None” or list Nonstandard Plan Provisions.
                 None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.


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        Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise
        included in this N.D. Ga. Chapter 13 Plan Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

        The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3. (Insert additional lines if needed.)

        1.      John H. Murphy holds a disputed judgment against Millard Farmer which was entered on January 26, 2018, in the case styled United States
        District Court, Northern District of Georgia, Newnan Division ("District Court"), John H. Murphy v. Millard C. Farmer, Jr., Civil Action File No. 3:15-
        cv-92. Millard Farmer asserts that such Disputed Judgment is covered by that certain mutual release and settlement agreement dated February 1,
        2011 whereby John H. Murphy and others including, but not limited to, his agents and attorneys, released, indemnified and held harmless Millard
        Farmer. Millard Farmer, through his counsel Ralph Goldberg who represents him in relation to the Disputed Judgment, disputes the basis for the
        Disputed Judgment and has sought and seeks a review of the Disputed Judgment by regulatory authorities of the United States including the SEC,
        FBI, the District Court and other regulatory agents. The Disputed Judgment is in the amount of $242,835.24. The Disputed Judgment is an
        unliquidated, and disputed debt which is subject to a motion for a new trial in the District Court. Should the District Court deny the motion for the
        new trial and should Millard Farmer lose any appeal from the Disputed Judgment in the appropriate appellate court, the Disputed Judgment will
        become a liquidated and undisputed debt. At that point, Millard Farmer will sell or refinance the property located at 1196 Dekalb Avenue NE,
        Atlanta, GA 30307 within 180 days of liquidation of the Disputed Judgment, or within the 5-year maximum term of the Bankruptcy Case, whichever
        comes earlier. The proceeds of the refinance or sale of the Residence will be paid to the Trustee in the amount of either the value of the
        Residence (to satisfy the best interest of the creditors test) or the amount of the Disputed Judgment upon liquidation, whichever amount is less.


        2.     Any funds paid to the Chapter 13 trustee that are intended to pay the claim of John H. Murphy, will be held in escrow by the trustee until
        such time as the claim is no longer in dispute and becomes a liquidated claim.


        3.     § 4.3 does not govern disbursement of attorneys fees in this case. Attorney's fees will be treated in accordance with the attorney disclosure
        statement (the "Disclosure Statement") (Doc. No. 14). Specifically the Debtor paid Jones & Walden a $15,000.00 retainer pre-petition for services
        related to the bankruptcy case, and has agreed to pay fees billed at the normal hourly rate as set forth in the Disclosure Statement.




  Part 9:        Signatures

§ 9.1   Signatures of Debtor(s) and Attorney for Debtor(s).
        The debtor(s) must sign below. The attorney for the debtor(s), if any, must sign below.


   8    Millard Courtney Farmer, Jr.
        Signature of debtor 1 executed on 06/01/2018
                                                                                    8    Signature of debtor 2 executed on
                                          MM / DD / YYYY                                                                      MM / DD / YYYY

        1196 Dekalb Avenue, Atlanta, GA 30327
        Address                                         City, State, ZIP code            Address                                         City, State, ZIP code



   8    Matthew J. Tokajer
        Signature of attorney for debtor(s)
                                                                                         Date:   06/01/2018
                                                                                                 MM / DD / YYYY



        Jones & Walden, LLC                                                              21 Eighth Street, NE, Atlanta, GA 30309
        Firm                                                                             Address                                         City, State, ZIP code


By filing this document, the debtor(s), if not represented by an attorney, or the attorney for debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 Plan are identical to those contained in the Local Form for Chapter 13 Plans that the Bankruptcy
Court for the Northern District of Georgia has prescribed, other than any nonstandard provisions included in Part 8.




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